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                                 CERTIFICATE OF SERVICE
Case Name:        Easton Stokes v. US DOJ, et al          No.    3:19-cv-04613-WHA

I hereby certify that on April 29, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
  DEFENDANT CALIFORNIA ATTORNEY GENERAL ROB BONTA’S NOTICE OF
  MOTION; MOTION FOR SUMMARY JUDGMENT; POINTS OF AUTHORITIES IN
            SUPPORT OF MOTION FOR SUMMARY JUDGMENT
  DECLARATION OF GILBERT MAC IN SUPPORT OF DEFENDANT CALIFORNIA
   ATTORNEY GENERAL ROB BONTA'S MOTION FOR SUMMARY JUDGMENT
      [PROPOSED] ORDER GRANTING DEFENDANT CALIFORNIA ATTORNEY
          GENERAL ROB BONTA’S MOTION FOR SUMMARY JUDGMENT
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on April 29,
2021, at Sacramento, California.


                Lindsey Cannan                                  /s/ Lindsey Cannan
                   Declarant                                          Signature

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